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                             ‭ HE‬‭UNITED‬‭STATES‬‭DISTRICT‬‭COURT‬
                             T
                       ‭FOR‬‭THE‬‭WESTERN‬‭DISTRICT‬‭OF‬‭PENNSYLVANIA‬

‭NANCY‬‭E.‬‭LEWEN,‬                                    :‭ ‬
                                                        ‭:‬ C       ‭ ivil‬‭Action‬‭No.‬‭1:17-cv-148‬
                             ‭Plaintiff,‬                ‭:‬
                                                          ‭:‬
                ‭v.‬                                       ‭:‬
                                                            ‭:‬ ‭Judge‬‭Susan‬‭Paradise‬‭Baxter‬
‭ ENNSYLVANIA‬‭SOLDIERS‬‭AND‬
P                                                            ‭:‬
‭SAILORS‬‭HOME‬‭et‬‭al.‬                                      ‭:‬
                                                               ‭:‬
                             ‭Defendant.‬                       ‭:‬



                                    ‭CERTIFICATE‬‭OF‬‭SERVICE‬

        ‭I‬‭certify‬‭that‬‭a‬‭true‬‭and‬‭correct‬‭copy‬‭of‬ ‭NOTICE‬‭OF‬‭APPEAL‬‭was‬‭served‬‭upon‬‭the‬

‭Defendant’s‬‭attorney,‬‭the‬‭Pennsylvania‬‭Attorney‬‭General,‬‭by‬‭filing‬‭through‬‭the‬‭ECF‬‭system.‬



/‭s/‬‭Nancy‬‭E.‬‭Shreve,‬‭formerly‬‭Lewen‬   ‭August‬‭8,‬‭2024‬
 ‭94‬‭Park‬‭Street‬
  ‭Orwell,‬‭PA‬‭44076‬
